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               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


I, Matthew J. Longworth, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), being first duly sworn, hereby depose and state as follows:

   1. I am a Special Agent of the U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives

       (ATF) assigned to the Louisville Division. As such, I am an investigative or law

       enforcement officer of the United States within the meaning of Title 18, United States

       Code, Section 2510 (7); that is, an officer of the United States who is empowered by law

       to conduct investigations of and to make arrests for offenses enumerated in Title 18, United

       States Code, Section 2516 (1). I have been a Special Agent with the ATF since May of

       2022. My duties as a Special Agent include the investigation of criminal violations of

       Federal Firearms and Narcotics laws. Throughout my law enforcement career I have been

       involved in numerous investigations related to prohibited persons possessing firearms,

       persons trafficking firearms and persons distributing controlled substances. I have been

       involved in the execution of search warrants and arrests resulting from prohibited persons

       possessing firearms, the distribution of controlled substances, and the concealing of drug

       related assets.

   2. Prior to my employment as an ATF Special Agent, I was employed with the St. Louis

       County Police Department from June 2017 to May 2022. During this time, I was a state

       certified police officer and was responsible for patrol activities as well as numerous

       complex investigations primarily involving firearms and narcotics offenses. I am a

       graduate of the St. Louis County Municipal Police Academy, as well as the Federal Law

       Enforcement Training Center and the ATF National Academy. As a result of my two

       thousand plus hours of training and lived experience as an ATF Special Agent (SA) and

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    police officer, I am familiar with State and Federal criminal laws and investigations of

    violations therein.

 3. I am familiar with the information contained in this affidavit through my own personal

    participation in the investigation, my review of documents and records, and my

    conversations with other law enforcement officers and agents. Because this affidavit is

    submitted in support of application for a criminal complaint and arrest warrant, I have not

    included every fact known concerning this investigation. I have, however, set forth a

    statement of fact and circumstances sufficient to establish probable cause for the issuance

    of an arrest warrant.

 4. The United States, including Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)

    and the Louisville Metropolitan Police Department (LMPD), is conducting a criminal

    investigation of multiple members of the violent street gang Victory Park Crips

    (hereinafter, “VPC) and the violent street gang Cali to Victory, a subset of VPC, regarding

    possible violations of federal firearms laws. Specifically, investigators received

    information that Dacorey HODGES (hereinafter, “HODGES”), who is a validated member

    of the violent street gang Cali to Victory, and fellow gang members, have been involved in

    multiple shootings and violent crimes in the Louisville, KY area. Based on criminal

    records obtained from the California Superior Court Orange County, HODGES has an

    active felony arrest warrant for the charge of Burglary in Orange County, California that

    was issued on August 1, 2023 (Court Case 19DL0480). Court documents reveal that

    HODGES was present at a court hearing in June 2022, with counsel, where he was made

    aware of the felony charges against him and ordered to return for subsequent court




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    proceedings. Pursuant to 18 U.S.C. §922(g)(2), these facts taken together make HODGES

    prohibited from purchasing or possessing firearms under federal law.

 5. In addition, the United States, including the ATF and LMPD, are simultaneously

    conducting an additional criminal investigation of multiple members of the violent street

    gang known as Jack Gang, regarding possible violations of federal firearms laws.

    Specifically, investigators received information that Virgil JACKSON (hereinafter,

    “JACKSON”), who is the proclaimed leader and an active member of Jack Gang, and

    fellow members, have been involved in multiple shootings and violent crimes in the

    Louisville, KY area. Investigators have identified Jack Gang and VPC as separate street

    gangs, however, both gangs affiliate with each other and often interact with one another.

    National Integrated Ballistics Identification Network (NIBIN) analysis, law enforcement

    reports, and intelligence, associate JACKSON with numerous shooting incidents and

    identify JACKSON as either a suspect and/or victim in eighteen (18) separate incidents.

    The eighteen (18) NIBIN leads date from October 2020 to September 2023. Due to

    JACKSON’s violent history and his role in the criminal organization, Jack Gang, ATF

    Agents and LMPD Firearm Intelligence Squad (FIS) Detectives had been attempting to

    surveil JACKSON means for several weeks.

 6. On or about the morning of August 30, 2023 investigators placed a video surveillance

    camera in the vicinity of the residence of HODGES, located at 3776 Parthenia Avenue,

    Louisville, KY. While in the area of the residence on surveillance, your affiant observed

    a vehicle known to be operated by HODGES leaving the area. The vehicle is a purple

    Dodge Charger bearing Kentucky temporary registration C019831. Later that same day,

    investigators reviewed recordings from the surveillance camera for August 30, 2023 and



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    observed that at approximately 5:16pm, HODGES is standing at a purple Dodge Charger

    holding what appears to be two temporary license plates and what appears to be a tan pistol

    under his left arm. HODGES places the pistol in the purple Dodge Charger and walks over

    to a black Chevrolet Z-71 truck parked on the property of 3776 Parthenia Avenue and

    places a temporary license plate inside the passenger’s door of the truck.

 7. On August 31, 2023, investigators again reviewed video surveillance camera recordings at

    3776 Parthenia Avenue, Louisville, KY and observed at 12:29pm HODGES arriving in the

    purple Dodge Charger. HODGES exits the driver’s door, opens the rear driver’s side door

    and retrieves a large black backpack from the backseat then proceeds towards the

    residence. At 6:19pm that same day, HODGES is once again observed arriving in the

    purple Dodge Charger. HODGES exits the vehicle and appears to be in possession of two

    cellular telephones.

 8. On September 4, 2023, at approximately 2:23am, a drive-by shooting occurred at the

    Waffle House at 2805 Fern Valley Road in Louisville, KY. A female victim received a

    gunshot wound to the foot during the shooting. Investigators were able to review video

    recordings from the Waffle House surveillance cameras depicting the incident that

    occurred. As depicted by the surveillance camera recordings, immediately prior to the

    shooting, a purple Dodge Charger, consistent with the same purple Dodge Charger

    regularly observed operated by HODGES and parked at 3776 Parthenia Avenue, was

    backed into a parking space between two vehicles in front of the entrance to the Waffle

    House. Several individuals appeared to be loitering around the purple Dodge Charger.

    Investigators were able to identify Virgil JACKSON and Dacorey HODGES as two of the

    individuals near the purple Dodge Charger. HODGES was dressed in black pants and a



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    black shirt with a blue design on the back and was wearing several gold chains around his

    neck. JACKSON was wearing a light-colored t-shirt and blue gym shorts. As a vehicle

    drove past on the road that appeared to be 30-40 yards away from the parking area, the

    video depicted the loitering individuals fall to the ground and scramble in what appears to

    be an effort to take cover from gun fire. HODGES took cover at the rear of the purple

    Dodge Charger, while JACKSON took cover along the driver-side door panels. Several

    seconds passed and the suspect vehicle had clearly departed the area when HODGES and

    JACKSON were seen pointing what appeared to be pistols toward the roadway. It appears

    that HODGES and JACKSON both fired their pistols in the direction of the road.

    HODGES and JACKSON then ran into the Waffle House. Surveillance footage showed

    both JACKSON and HODGES clearly holding what appeared to be handguns in their right

    hands as they entered the Waffle House. HODGES then jumped over several seating

    booths into the kitchen area of the Waffle House. JACKSON was also observed jumping

    over the counter and taking cover in the kitchen area of the Waffle House. Several moments

    later, HODGES appeared from the exterior side of the Waffle House and got into the

    driver’s seat of the purple Dodge Charger. JACKSON appeared shortly thereafter and got

    into the back seat of the purple Dodge Charger. The vehicle then fled the scene.

 9. LMPD Officers responded to 2805 Fern Valley Road (Waffle House) shortly after the

    shooting, where they located one (1) 9-millimeter fired cartridge casing and eight (8) 10-

    millimeter fired cartridge casings. The fired cartridge casings were collected and

    transported to the LMPD Crime Scene Unit (CSU).




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          Depicted: JACKSON, circled in red, taking cover next to the Dodge Charger




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        Depicted: JACKSON entering the Waffle House holding a firearm, circled in red




              Depicted: JACKSON, circled in red, re-entering the Dodge Charger

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         Depicted: HODGES entering the Waffle House holding a firearm, circled in red


 10. National Integrated Ballistics Identification Network (NIBIN) technicians entered the

    recovered fired cartridge casings located on scene at the Waffle House into NIBIN, which

    positively correlated with fired cartridge casings located previously under NIBIN Gun 23-

    0933. The 10-millimeter fired cartridge casings located at the Waffle House scene matched

    a 10-millimeter fired cartridge casing that Louisville Metropolitan Department of

    Corrections (LMDC) Home Incarceration Program (HIP) Officers collected on or about

    July 5, 2023.

 11. On or about July 5, 2023, LMDC HIP conducted a home visit at JACKSON’s residence,

    located at 1409 Lynnhurst Avenue, Apartment 2, Louisville, Kentucky 40215, where

    JACKSON was on supervised release, and located the one (1) 10-millimeter fired cartridge

    casing outside of JACKSON’s residence. LMDC HIP also collected eight (8) 7.62x39

    millimeter fired cartridge casings outside the residence. This information further confirmed

    Agents’ belief that JACKSON was present at the shooting incident.

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  12. On September 4, 2023, at approximately 0337 hours, approximately one hour after the

     shooting, law enforcement observed JACKSON through surveillance exiting a purple in

     color Dodge Charger. JACKSON was then observed walking into his residence, located at

     1409 Lynnhurst Avenue, Apartment 2, Louisville, Kentucky 40215. The Dodge Charger

     appeared to be the same vehicle that Waffle House surveillance footage identified as one

     of the vehicles involved in the shooting earlier that morning. Additionally, the Dodge

     Charger matched the description of the Dodge Charger HODGES has been observed

     driving, which had been parked at HODGES’ residence frequently. When JACKSON

     exited the Dodge Charger at his residence, surveillance showed JACKSON wearing a light-

     colored t-shirt and blue gym shorts, as he exited the front passenger seat of the vehicle.

     JACKSON’s clothing matched the clothing observed on the Waffle House surveillance

     footage. Further, surveillance showed JACKSON holding a firearm in his right hand as he

     exited the vehicle. The firearm appeared to be a pistol, black in color, and appeared to be

     a similar shape and size as the firearm JACKSON was observed holding inside the Waffle

     House. JACKSON then entered the residence with the firearm in hand. The Dodge

     Charger then left the location at approximately 0338 hours.




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                     Depicted: Dodge Charger arriving at JACKSON’s residence




   Depicted: JACKSON, circled in red, exiting the Dodge Charger, returning to JACKSON’s residence




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 Depicted: JACKSON exiting the Dodge Charger holding a black pistol, circled in red, in his right hand.


  13. According to court documents in JACKSON’s Jefferson County, Kentucky, Jefferson

      Circuit Court Case numbers 21CR1433 and 22CR1243, JACKSON is on house arrest with

      LMDC HIP at 1409 Lynnhurst Avenue, Apartment 2, Louisville, Kentucky 40215.

      However, at the time of the shooting, JACKSON was on a furlough from his house arrest.

      As of September 5, 2023, JACKSON’s furlough from house arrest ended, and he was

      placed back on active house arrest again.

  14. According to JACKSON’s LMDC HIP “Participant Information Form” (pictured below),

      which was completed by JACKSON on May 25, 2023, JACKSON indicated that he is the

      sole occupant of the residence. In the documentation obtained by your affiant from the

      LMDC HIP for JACKSON, there is one other form in which Alanyia Jackson, JACKSON’s

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     mother, (also pictured below) appears to consent to her son residing at the residence located

     at 1409 Lynnhurst Avenue. There are no indications in the documentation provided to the

     LMDC HIP by JACKSON that anyone else resides in the residence.




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                       Depicted: JACKSON’s HIP Documentation




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  15. Through a review of electronic court documents, ATF confirmed JACKSON to be a

     convicted felon. Electronic court documents revealed JACKSON plead or was found guilty

     of the following felony offenses:

         a. Jefferson County Circuit Court Case 22-CR-001243

                i. Receiving Stolen Property – Vehicle – Over $300

                ii. Unlawful Transaction with a Minor – 2nd Degree

         b. Jefferson County Circuit Court Case 21-CR-001433-005

                i. Complicity to Engaging in Organized Crime – Criminal Syndicate

                ii. Complicity to Receiving Stolen Property $10,000 or More

               iii. Complicity to Criminal Mischief, 1st Degree

         c. Oldham County Circuit Court Case 21-CR-00124

                i. Complicity to Receiving Stolen Property $1,000 < $10,000

                ii. Fleeing or Evading Police, 1st Degree (On Foot)

               iii. Two (2) counts of Complicity to Wanton Endangerment – 1st Degree

               iv. Unlawful Transaction with Minor – 2nd Degree

  16. Based on the foregoing felony convictions, pursuant to 18 U.S.C. §922(g)(1) JACKSON

     is prohibited from possessing firearms and/or ammunition.

  17. On September 4, 2023, at approximately 3:46am, a review of the recordings from the law

     enforcement surveillance camera outside 3776 Parthenia Avenue, Louisville, KY reveals

     the Dodge Charger arrives at the residence and backs into the parking area. It appears that

     one individual exits the driver’s seat, and a light from a cell phone appears to be moving

     towards the residence, although it is too dark to identify a particular individual. Once




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     daylight occurs, it is clear that the vehicle that parked at 3776 Parthenia Avenue is the same

     purple Dodge Charger regularly operated by HODGES.




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   Depicted: Several images of the purple Dodge Charger returning to 3776 Parthenia Avenue at
                                     approximately 3:46am

  18. On September 4, 2023, at approximately 2:38pm, a review of recordings from the law

     enforcement surveillance camera outside 3776 Parthenia Avenue, Louisville, KY reveals

     that HODGES is observed approaching the purple Dodge Charger from the residence.

     HODGES walks around the vehicle and appears to inspect damage to the driver’s side and

     front of the vehicle. What appears to be a bullet hole can be seen on the front passenger’s

     quarter panel with what appear to be bullet skips down the side of the passenger’s door.

     HODGES also appears to be carrying a tan colored pistol under his left arm while he is

     walking around the vehicle. Review of historical surveillance camera recordings indicates

     that the bullet hole in the front passenger’s quarter panel occurred sometime before August

     30, 2023. Investigators are aware that a dark colored Dodge Charger with a temporary

     license plate was involved in a separate shooting incident on August 27, 2023 in Louisville,

     KY.

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Depicted: HODGES walks from the residence to the purple Dodge Charger and appears to inspect possible
damage to the front end of the vehicle and appears to be carrying a tan colored pistol under his left arm.




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  Depicted: Several images of HODGES carrying a suspected tan colored pistol, circled in red under,
                                       HODGES left arm.




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Depicted: Several images of HODGES bending down to inspect possible damage to the front end of the
Purple Dodge Charger.




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  19. On September 6, 2023, at approximately 2:21pm, a review of law enforcement surveillance

     camera recordings outside of 3776 Parthenia Avenue depicts HODGES walking to the rear

     parking area of the residence with a full black garbage bag and appears to be clenching an

     object under his left arm. HODGES walks out of view of the camera towards the residential

     garbage can. HODGES returns to close the gate on a fence between the residence and the

     parking area, and then removes what appears to be a tan colored pistol from under his left

     arm. HODGES carries the firearm to the driver’s door of the purple Dodge Charger, enters

     the vehicle, and departs the area. Furthermore, HODGES appears to be wearing gold

     chains around his neck consistent with those HODGES was observed to be wearing on the

     video surveillance recording of the shooting at the Waffle House.

     Depicted: Image of HODGES holding what appears to be a tan pistol, circled in red




  20. Given the above information, federal search warrants were obtained in the Western District

     of Kentucky for both JACKSON’S and HODGES’ residences, located at 1409 Lynnhurst

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     Avenue, Apartment 2, Louisville, KY 40215 and 3776 Parthenia Avenue, Louisville, KY

     40215, respectively.

  21. On September 12, 2023, ATF Agents, with assistance from LMPD Detectives, executed a

     federal search warrant at Virgil JACKSON’s residence, located at 1409 Lynnhurst Avenue,

     Apartment 2, Louisville, Kentucky 40215. ATF Special Response Team (SRT) made entry

     into the residence and encountered Virgil JACKSON, A.J. (JACKSON’s mother), and S.L.

     (JACKSON’s child’s mother) inside the residence. JACKSON and his child’s mother were

     both located in the rear bedroom of the residence, while JACKSON’s mother, A.J., was

     located in the doorway of the front bedroom. All three individuals were detained at the

     time of entry.

  22. Prior to conducting the search, A.J. made several spontaneous utterances stating there was

     a firearm located inside a backpack in Virgil JACKSON’s bedroom that belonged to her.

     It should be noted, A.J. is a convicted felon, per Jefferson County Circuit Court Case

     Numbers 05-CR-002179 & 15-CR-001501.

  23. ATF Agents and LMPD Detectives conducted a search of the residence, during which

     Agents located a grey in color backpack underneath the left side of Virgil JACKSON’s

     bed. Upon opening the backpack, Agents discovered a black in color Glock 29, 10-

     millimeter, semi-automatic handgun bearing serial number BTHW444, with a 10-

     millimeter magazine inserted. Additionally, in the same backpack, Agents located an

     extended Glock 10-millimeter magazine.

  24. Recovered from the residence at 1409 Lynnhurst Ave, Apt 2, Louisville, KY were the

     following items:

     - One Dell Laptop



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     - One White in color iPhone

     - One Black in color iPhone

     - Glock Model 29, 10-millimeter semi-automatic handgun, bearing serial number

     BTHW444, with loaded magazine inserted

     - One extended Glock 10-millimter magazine

  25. ATF SA Matthew Longworth made contact with A.J., who was not in police custody, and

     inquired about who owned the firearm. Initially, A.J. advised the firearm belonged to her.

     However, when SA Longworth pointed out the fact that A.J. was a convicted felon and

     prohibited from possessing a firearm and could be arrested for such violation of federal

     law, A.J. changed her story and stated she was unsure who the firearm belonged to. Due

     to A.J.’s unwillingness to cooperate and the fact that she was initially claiming ownership

     of the recovered firearm, SA Longworth placed A.J. in handcuffs and informed her she was

     being detained. A.J. immediately changed her story and spontaneously stated the firearm

     belonged to her son, Virgil JACKSON. SA Longworth then read A.J. her Miranda Rights.

     A.J. advised she understood her rights and completed and signed the Miranda Warning and

     Waiver Form indicating the same. SA Longworth again asked A.J. who the firearm located

     inside the backpack in JACKSON’s room belonged to. A.J. confirmed the firearm

     belonged to her son, Virgil JACKSON. A.J. advised she was aware JACKSON was in

     possession of the firearm as there are several people trying to kill him and their family and

     he needs the firearm to protect them. A.J. stated she only lied about owning the firearm to

     protect her son, as she did not want him to go to jail. This concluded SA Longworth’s

     interview with A.J., and A.J. was subsequently released from custody. The interaction was

     recorded via LMPD Sergeant Tim Ellyson’s body worn camera.



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  26. LMDC HIP transported JACKSON to corrections and revoked JACKSON’s status on HIP.

     JACKSON was subsequently charged at the State level with Felon in Possession of a

     Handgun.

  27. All seized items from the search warrant were transported to the ATF Louisville Field

     Office and properly packaged and placed in evidence. The firearms was transported to

     LMPD Crime Scene Unit (CSU) for NIBIN testing and DNA processing.

  28. Continuing on September 12, 2023, ATF SA Andrew Bledsoe and LMPD Detective Chad

     Webb, conducted an interview of JACKSON at LMDC. SA Bledsoe advised JACKSON

     of his Miranda Rights. JACKSON stated he understood his rights and signed a Miranda

     Warning and Waiver Form. JACKSON stated to interviewers that he and his mother’s child

     stay in the rear bedroom of the residence. SA Bledsoe asked JACKSON about the firearm

     located in the bedroom. JACKSON admitted to interviewers that the firearm belonged to

     him. JACKSON stated he purchased the firearm from the “streets”. JACKSON refused to

     provide any additional information and the interview was concluded.

  29. On September 12, 2023, the residence at 3776 Parthenia Avenue, Louisville, KY was

     secured by the LMPD SWAT Team. Inside the residence at the time the warrant was

     served were Dacorey HODGES and D.M.. E.R. arrived in his vehicle shortly after LMPD

     SWAT arrived at the residence. D.M. was not detained and immediately left the area after

     providing law enforcement her contact information.

  30. Investigators with ATF and LMPD conducted a search of the residence, outbuilding, and a

     purple Dodge Charger parked at the rear of the residence. Investigators obtained a written

     authorization for consent to search a Chevrolet Z-71 pickup truck parked on the property

     from E.R.. A check of the vehicle registration of the Chevrolet Z-71 pickup truck revealed



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     that the vehicle is registered to E.R. or A.R. E.R. called A.R. via cell phone, and A.R.

     agreed to provide written authorization for consent to search the truck. Law enforcement

     officers traveled to A.R.’s place of work, where she voluntarily signed a consent to search

     form regarding the Chevrolet Z-71 pickup truck.

  31. Recovered from the residence at 3776 Parthenia Avenue, Louisville, KY were the

     following items:

     - Glock, Model 19Gen5, 9-millimeter pistol, bearing serial number AFTC689, tan in color

     with an extended magazine loaded with 27 rounds of 9-millimeter ammunition. The firearm

     was reported stolen on August 24, 2023 in Louisville, KY.

     - FN, Model FNX-4, .45ACP pistol, bearing serial number FX3U023541, tan color frame

     with black slide loaded with 6 rounds of .45ACP ammunition.

     - Glock, Model 19, 9-millimeter pistol bearing serial number BVTV947, black in color

     with an extended magazine loaded with 28 rounds of 9-millimeter ammunition.

     - 14 rounds of assorted ammunition

     - One box of 44 rounds of .45 ammunition

     - Pistol box for an FN, Model FNX-45 pistol with serial number FX3U023541 containing

     two empty pistol magazines

  32. The purple Dodge Charger bearing temporary license plate C019831 was discovered to be

     reported stolen out of Michigan in November 2022. The vehicle was subsequently

     impounded by LMPD. Recovered from a search of the vehicle was an Apple iPhone,

     yellow in color bearing an unknown IMEI.




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  33. The Chevrolet Z-71 pickup truck bearing Kentucky license plate 135PVE was searched

     pursuant to the signed consent to search. Recovered from the pickup truck were the

     following items:

     - One empty .40 extended pistol magazine

     - One Glock .40 pistol magazine loaded with 13 rounds of .40 ammunition

     - One round of .223 ammunition

  34. E.R. was advised of his rights under Miranda and stated that none of the firearms that were

     recovered were his property. E.R. stated that several days prior he had observed Dacorey

     HODGES in possession of a black Glock pistol. E.R. stated that no one else resides in the

     home other than E.R. and HODGES. E.R. asked to speak with HODGES. Investigators

     walked E.R. to where HODGES was located. E.R. spoke with HODGES, informed

     HODGES that three firearms were located inside the residence. E.R. told HODGES that

     the firearms were not E.R.’s. HODGES then voluntarily stated without questioning that

     the firearms in the residence were his property. No questions were asked of HODGES.

     The interaction was recorded via LMPD Detective (Det.) Jonah Kiper’s body worn camera.

  35. Upon completion of the search, the residence was secured and turned over to E.R. E.R.

     was not placed in custody nor cited with any violations of law.

  36. HODGES was then transported to LMPD Criminal Interdiction Division (CID) for

     interview. Upon arrival to the interview room, HODGES was informed of his rights under

     Miranda and immediately requested an attorney. No further questions were asked of

     HODGES.

  37. All property items were taken into custody by ATF. The three firearms were transported

     to the LMPD Crime Scene Unit (CSU) for NIBIN testing and DNA processing.



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   38. Your affiant queried ATF Interstate Nexus Expert SA Shannon Sullivan to determine if the

       firearms seized in the execution of the above listed two federal search warrants were

       manufactured in the Commonwealth of Kentucky. SA Sullivan indicated the firearms were

       manufactured outside of the Commonwealth of Kentucky and thus affected interstate

       commerce.

   39. Based on the above facts and circumstances, as well as this Affiant’s training and

       experience, Affiant states that there is probable cause to believe that JACKSON has

       committed violations of Title 18, United States Code, Section 922 (g)(1), felon in

       possession of a firearm. Additionally, this Affiant states there is also probable cause to

       believe that HODGES has committed violations of Title 18, United States Code, Section

       922 (g)(2), possession of a firearm by a person who is a fugitive from justice.




                                                    ______________________
                                                    Matthew J. Longworth
                                                    Special Agent, ATF


       Sworn to me and subscribed by telephone in accordance with Fed. R. Crim. P. 4.1 and
41(d)(3) on the 12th day of September 2023.




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Colin H. Lindsay
UNITED STATES MAGISTRATE JUDGE




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